    Case: 1:18-cr-00111-SJD Doc #: 20 Filed: 11/19/19 Page: 1 of 1 PAGEID #: 58




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

United States of America

         vs.                                            Case Number: 1:18cr111

Tracey Couch


                              CRIMINAL MINUTES: SENTENCING

Defendant appeared with counsel Brandon Marshall and Bill Hunt and was sentenced as follows:

2 Years Probation

         Probation will terminate after 1 year if the defendant is successful in her first year

         Mandatory drug testing is waived

Assessment: 100 (paid)          Fine: 0                 Restitution: $2,200 (paid)

Sal Dominquez AUSA




Judge:                  Susan J. Dlott

Courtroom Deputy:       William Miller

Court Reporter:         Julie Wolfer, Official

Date:                   November 19, 2019
